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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION

United States of America      )              Criminal Action No. 3:19-cr-302-JMC
                              )
      v.                      )
                              )                      ORDER AND OPINION
Kenyada Jaqu                  )
                              )
______________________________)

       Currently before the court is Defendant Kenyada Jaqu’s (“Defendant”) Motion to Suppress

Evidence from Traffic Stop (ECF No. 113) pursuant to Rule 12(b)(3) of the Federal Rules of

Criminal Procedure. The Government has filed responsive briefing in opposition to the Motion.

(ECF No. 178.) For the following reasons, the court DENIES Defendant’s Motion to Suppress.

(ECF No. 113.)

                      I. FACTUAL AND PROCEDURAL BACKGROUND

       On March 11, 2019, an individual unrelated to the instant case allegedly began a

methamphetamine sale to undercover officers. (ECF No. 211 at 29:18-30:3.) The alleged drug

dealer took the undercover officer’s money and informed the officer he had to “re-up” and meet

his source at a house “off of Harbison Boulevard.” (Id.) The dealer then traveled to and entered a

house on Harbison Boulevard. (Id. at 30:4-10.) Officers followed the dealer and began surveilling

the house. (Id.) While the officers watched, a white Nissan Maxima with two occupants pulled

into the driveway. (Id.) The occupants were later identified as Defendant and his girlfriend, Ronda

Barker. (Id. at 31:16-17.) Defendant entered the house and, within a “couple minutes,” exited the

residence, reentered the Nissan, and pulled away. (Id. at 30:6-11.) With their interest piqued,

officers began following the Nissan. (Id. at 30:11-12.)

       The Nissan went to a residence on Pickwick Drive. (Id.) Officers researched the address

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and discovered that “Kenyada Jaqu” resided there. (Id. at 30:20-24.) Although at this point officers

had not yet identified the male occupant of the Nissan as Defendant, they “knew [Defendant] as a

heroin dealer from [their] previous experience in 2015.” (Id.) Officers surveilling the Nissan noted

that the occupant was the same race, “had the same stature, [and had the] same build as Kenyada.”

(Id.) Officers also learned the Nissan was a rental vehicle. (Id. at 30:14-16.)

       A few minutes later, the Nissan left the house on Pickwick Drive. (Id. at 30:25-31:1.)

Officers continued their covert reconnaissance and observed the Nissan incur “several traffic

violations including speeding[] and a failure to use a turn signal[.]” (Id. at 31:1-4.) Investigator

Brad Maxwell testified he personally “observed the . . . traffic violations.” (Id. at 55:2-3.)

Investigator Maxwell then radioed Deputy Donny Campbell stop the Nissan due to the traffic

violations, and specifically informed Deputy Campbell that the Nissan had been speeding. (Id. at

31:9-13, 65:18-66:15.)

        Shortly thereafter, Deputy Campbell initiated the stop. (Id. at 31:16-21.) He approached

the vehicle; asked for identification, insurance, and registration from both occupants; and

identified Barker as the driver and Defendant as the passenger. (Id. at 31:16-21, 69:14-20.) Before

running the occupant’s information through the police’s database, Deputy Campbell asked Barker

if he could search the Nissan, and she gave him consent to do so. (Id. at 31:22-32:4, 69:21-24.)

Thereafter Barker and Defendant complied with Deputy Campbell’s request for them to exit the

vehicle. (Id. at 71:1-7.) Ultimately, the search yielded two bags of a tannish substance and a third

bag containing a crystalline substance, which were suspected to be heroin and methamphetamine.

(ECF Nos. 113 at 2; 178 at 1; 211 at 32:6-12.)

       Defendant was later charged in the Superseding Indictment with (1) Possession with Intent

to Distribute 100 grams or more of Heroin, a Schedule I controlled substance, and a Quantity of

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Methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 841(a)(1),

(b)(1)(B), and (b)(1)(C); (2) Possession of Firearms in furtherance of Drug Trafficking Offenses,

in violation of 18 U.S.C. §§ 922(g)(1), 924(a)(2), and 924(e); (3) Felon in Possession of Firearms,

in violation of 18 U.S.C. § 924(c)(1)(A)(i); and (4) Conspiracy to Possess with Intent to Distribute

and Distribute 1 kilogram or more of Heroin and a quantity of Methamphetamine, in violation of

21 U.S.C. §§ 841(a)(1), (b)(1)(A), and (b)(1)(C). (ECF No. 52 at 1-3.)

       On December 15, 2019, Defendant filed seven Motions to Suppress, including the instant

Motion. (ECF Nos. 112-115, 117-119.) The court held a hearing on several of these matters over

a two day period on June 26, 2020, and July 16, 2020. (ECF Nos. 197, 202.) At the hearing,

Investigator Maxwell, Deputy Campbell, and Ronda Barker offered testimony. (ECF No. 211 at

2.)

                                       II. LEGAL STANDARD

       The Fourth Amendment protects “[t]he right of the people to be secure in their persons,

houses, papers, and effects, against unreasonable searches and seizures.” U.S. CONST. AMEND. IV.

“Temporary detention of individuals during the stop of an automobile by the police, even if only

for a brief period and for a limited purpose, constitutes a ‘seizure’” under the Fourth

Amendment. United States v. Bowman, 884 F.3d 200, 209 (4th Cir. 2018) (citing Whren

v. United States, 517 U.S. 806, 809 (1996)). An automobile stop, therefore, is subject to the

reasonableness requirement of the Fourth Amendment. Id. In determining whether a traffic stop is

reasonable, the court asks (1) if the stop was “legitimate at its inception,” and (2) if “the officer’s

actions during the seizure were reasonably related in scope to the basis for the traffic stop.” Id.

(citing United States v. Hill, 852 F.3d 377, 381 (4th Cir. 2017); United States v. Williams, 808 F.3d

238, 245 (4th Cir. 2015)).

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       An officer’s “decision to stop an automobile is reasonable where the police have probable

cause to believe that a traffic violation has occurred.” Whren, 517 U.S. 806, 810 (1996). A lawful

traffic stop “can become unlawful if it is prolonged beyond the time reasonably required to

complete [the] mission” of issuing a warning ticket. Bowman, 884 F.3d at 209-10 (citing Illinois

v. Caballes, 543 U.S. 405, 407 (2005)). The permissible duration of a traffic stop “is determined

by the seizure’s mission, meaning that it may “last no longer than is necessary to effectuate that

purpose.” Id. at 210. However, the detention of a motorist may be extended beyond the time

necessary to accomplish a traffic stop’s purpose, if the authorities either possess “reasonable

suspicion or receive the driver’s consent.” Williams, 808 F.3d at 245 (emphasis added). The court

looks at the totality of the circumstances to determine whether the detaining officer has a

particularized and objective basis for suspecting legal wrongdoing. Id. at 246.

       “Suppression of evidence . . . has always been [the court’s] last resort, not [the court’s] first

impulse.” Hudson v. Michigan, 547 U.S. 586, 591 (2006). Because the consequences of applying

the rule are so dire, a defendant urging its application carries a heavy burden. See id. (quoting

Pennsylvania Bd. of Probation and Parole v. Scott, 524 U.S. 357, 364-65 (1998)). Suppression

should be limited to cases in which its deterrent effect against law enforcement’s misconduct

outweighs the costs inherent in barring evidence that law enforcement expended great resources

to obtain. See Scott, 524 U.S. at 357 (citing United States v. Leon, 468 U.S. 897, 907 (1984)).

                                          III. DISCUSSION

       Defendant makes the following argument:

       [t]he stop of the vehicle began with surveillance of Barker and Jaqu at a residence
       in Richland County. Once the parties entered the vehicle, a marked Richland
       County Sheriff’s Department stopped the vehicle for speeding and failure to signal.
       The deputy failed to issue a citation for either infraction after checking the parties’
       driver’s licenses and vehicle registration. Defendant Jaqu, a passenger in the car,
       was “seized” the moment the car was stopped and was not free to leave. Moreover,
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        the stop lasted 57 minutes. The stop as conducted violated Jaqu’s Fourth and
        Fourteenth Amendment rights.

(ECF No. 113 at 3.)

        In response, the Government points out that Barker consented to the search of the vehicle,

thereby authorizing the length of the stop. (ECF No. 178 at 3-4.) Additionally, the Government

observes that officers “had reasonable suspicion of criminal activity when they stopped the car”

based on prior surveillance. (Id.)

        Here, the court finds the traffic stop was reasonable. First, the traffic stop was “legitimate

at its inception,” as Defendant admits the vehicle in which he was riding exceeded the speed limit

and turned without the use of a turn signal. (ECF Nos. 113 at 1; 211 at 31:1-4.) Such violations

established probable cause and authorized officers to conduct the traffic stop, regardless of the fact

that police observed the infractions while surveilling Defendant for unrelated potential drug

activity.1 See also United States v. Johns, 667 F. App’x 830, 831 (4th Cir. 2016) (“[R]egardless of

the officer’s subjective intent, the stop was lawful because the police objectively had probable

cause to stop the car after observing [the defendant’s] erratic driving.”). The traffic stop was thus

legitimately initiated.

        Second, the officer’s actions during the traffic stop were reasonably related to the stop’s

purpose. Deputy Campbell initiated the traffic stop; approached the vehicle; requested

identification, insurance, and registration from both occupants; and, before running their



1
  Similarly, although Deputy Campbell did not personally observe the Nissan’s traffic violations,
he was authorized to stop the vehicle after Investigator Maxwell informed him of the infractions.
See United States v. Massenburg, 654 F.3d 480, 492 (4th Cir. 2011) (“The collective-knowledge
doctrine, as enunciated by the Supreme Court, holds that when an officer acts on an instruction
from another officer, the act is justified if the instructing officer had sufficient information to
justify taking such action herself; in this very limited sense, the instructing officer’s knowledge is
imputed to the acting officer.”).
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information, asked Barker if he could search the Nissan.2 (ECF No. 211 at 31:16-32:4, 69:14-24.)

Barker then gave him consent to search. (Id. at 31:22-32:4.) The traffic stop was not unreasonably

prolonged before the officer obtained consent because only a short period of time seemed to pass

between the stop’s initiation and the request to search. Additionally, the stop’s original purpose

was still ongoing, as Deputy Campbell had not yet even run the information of Barker and

Defendant. Defendant does not argue that police used coercive tactics or otherwise improperly

gained consent to search the Nissan. Once the officer obtained consent, the stop’s duration was

justified “beyond the time necessary to accomplish [the] traffic stop’s purpose.” Williams, 808

F.3d at 245. Thus, even though the stop purportedly lasted fifty-seven minutes, Barker’s consent

to search the vehicle justified such an extension of time. Id.

        Alternatively, the court notes the extended duration of the traffic stop was also justified

due to reasonable suspicion that Defendant was engaged in criminal activity related to narcotics.

See Williams, 808 F.3d at 245. Defendant appeared at the residence on Harbison Boulevard shortly

after another individual—who was in the process of a controlled narcotics deal with an undercover

officers—traveled to “re-up” and meet his source at a house “off of Harbison Boulevard.” (ECF

No 211 at 29:18-30:3.) This information, and other information gathered during the subsequent

surveillance and investigation, amounted to at least reasonable suspicion of criminal activity for

police to justifiably prolong the traffic stop.




2
  Deputy Campbell was authorized to ask for permission to search even if he had no warrant,
probable cause, or reasonable suspicion. See United States v. Suarez, 321 F. App’x 302, 305-06
(4th Cir. 2009) (“One of the specifically established exceptions to the requirements of both a
warrant and probable cause is a search that is conducted pursuant to consent.”) (internal marks
omitted) (citing Schneckloth v. Bustamonte, 412 U.S. 218, 219 (1973)).
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                                       IV. CONCLUSION

         For the reasons above, the court DENIES Defendant’s Motion to Suppress. (ECF No.

113.)

         IT IS SO ORDERED.




                                                      United States District Judge

October 2, 2020
Columbia, South Carolina




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